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16                               UNITED STATES DISTRICT COURT
17                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
18                                      OAKLAND DIVISION
19    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )             Case No. 4:19-cv-07123-PJH
20                                      )
                                        )
21                    Plaintiffs,       )             LOCAL RULE 79-5(F)(3) STATEMENT
                                        )             IN RESPONSE TO DEFENDANTS’
22           v.                         )             ADMINISTRATIVE MOTION TO
                                        )             CONSIDER WHETHER ANOTHER
23    NSO GROUP TECHNOLOGIES LIMITED )                PARTY’S MATERIAL SHOULD BE
      and Q CYBER TECHNOLOGIES LIMITED, )             FILED UNDER SEAL
24                                      )
                                        )             Ctrm:    3
25                    Defendants.       )             Judge:   Hon. Phyllis J. Hamilton
                                        )
26                                      )             Action Filed: 10/29/2019
                                        )
27                                      )
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 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          Pursuant to Civil Local Rule 79-5(f)(3), Plaintiffs WhatsApp LLC and Meta Platforms, Inc.

 3   (“Plaintiffs”), by and through their counsel, respectfully submit this response to the Administrative

 4   Motion to Consider Whether Another Party’s Material Should Be Filed Under Seal (the “Adminis-

 5   trative Motion”) filed by Defendants NSO Group Technologies Limited and Q Cyber Technologies

 6   Limited (“NSO”). Dkt. No. 359. The Administrative Motion identifies portions of the Joint Letter

 7   Brief Regarding Defendants’ Motion to Compel Responses to Second and Fourth Set of Requests for

 8   Production of Documents (the “Joint Letter Brief”), Dkt. No. 359-2, and Exhibits 3, 4, 6, and 7 and

 9   a part of Exhibit 5 thereto (collectively, the “Materials”), as referencing or containing materials des-

10   ignated as “Highly Confidential – Attorneys’ Eyes Only” by Plaintiffs.

11          Plaintiffs request that the Court keep the Materials under seal, and do so pursuant to Local

12   Rules 79-5(c) and (d). The Materials comprise or refer to materials that have been designated and

13   produced in discovery as “Highly Confidential – Attorney’s Eyes Only” pursuant to the August 31,

14   2020 Stipulated Protective Order, Dkt. No. 132. The Materials are, or refer to, confidential technical

15   files to which Plaintiffs owe a duty of confidentiality to a third party, and that reflect the sensitive

16   operations of Plaintiffs’ systems. See Dkt. No. 359-3, Exs. 3,4,5,6,7.

17          The appropriate standard for sealing here is “good cause.” The Materials are quoted in or are

18   attached to NSO’s discovery motion—a non-dispositive motion that only tangentially relates to the

19   case—so the moving party need only show “good cause” for why the documents should remain under

20   seal. Wells Fargo & Co. v. ABD Ins. & Fin. Servs., 2013 WL 897914, at *1 (N.D. Cal. Mar. 8, 2013)

21   (Hamilton, J.). “Good cause” requires only “a particularized showing” that sealing is appropriate,

22   which “will suffice to seal documents produced in discovery.” Kamakana v. City & Cty. of Honolulu,

23   447 F.3d 1172, 1180 (9th Cir. 2006); see also Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d

24   1092, 1097 (9th Cir. 2016) (“Applying the good cause standard from Rule 26(c) as an exception for

25   discovery-related motions makes sense, as the private interests of litigants are ‘the only weights on

26   the scale.’” (quoting Kamakana, 447 F.3d at 1180)).

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     LOCAL RULE 79-5(F)(3) STATEMENT IN RESPONSE TO DEFENDANTS’ ADMINISTRATIVE MOTION TO CONSIDER
     WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL - CASE NO. 4:19-CV-07123-PJH
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 1           Plaintiffs easily meet the applicable good-cause standard here. Courts have routinely held

 2   that confidential business information or information subject to confidentiality obligations satisfies

 3   the compelling reasons standard, which is far more “exacting” than the good-cause standard applica-

 4   ble here. Jones v. PGA Tour, Inc., 2023 WL 7440303, at *2 (N.D. Cal. May 18, 2023) (granting

 5   plaintiff’s renewed sealing motion with respect to information including “confidential business in-

 6   formation” and “internal decisionmaking processes”); see also In re Sony Gaming Networks & Cus-

 7   tomer Data Sec. Breach Litig., 2015 WL 13653885, at *1 (S.D. Cal. Jan. 20, 2015) (permitting seal-

 8   ing records where the records were “subject to a contractual duty of confidentiality” and where “harm

 9   could result to [the parties’] business operations” if the information were prematurely disclosed); In

10   re Qualcomm Litig., 2017 WL 5176922, at *2 (S.D. Cal. Nov. 8, 2017) (concluding that the parties

11   established compelling reasons to file under seal records that implicate “confidential business infor-

12   mation” subject to confidentiality agreements). Publicly disclosing these materials would risk harm

13   to Plaintiffs’ business and would provide competitors an unfair advantage by providing access to the

14   sensitive operations of Plaintiffs’ systems. This harm could not be mitigated by any means less

15   restrictive than sealing.

16           For the foregoing reasons, Plaintiffs request that the Materials that NSO submitted or refer-

17   enced remain under seal. This request is narrowly tailored to only sealable material (as identified by

18   the proposed redactions in the Administrative Motion).

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 1    Dated: August 20, 2024                      Respectfully Submitted,

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